Case 1:20-cv-20263-RNS Document 153 Entered on FLSD Docket 08/02/2022 Page 1 of 5



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 1:20-cv-20263-RNS

 MASTEC RENEWABLES PUERTO RICO,
 LLC,

           Plaintiff,

 v.

 MAMMOTH ENERGY SERVICES, INC. and
 COBRA ACQUISITIONS, LLC,

       Defendants.
 ________________________

           MASTEC RENEWABLES PUERTO RICO, LLC’S MOTION TO ENFORCE
                         SETTLEMENT AGREEMENT

           Mastec Renewables Puerto Rico, LLC (“MasTec”), moves to enforce the settlement

 announced to this Court on August 3, 2021, by the parties (D.E. 135), and in support states as follows:

      I.        Background

           1.      On January 21, 2020, MasTec filed a complaint against Defendants Mammoth Energy

 Services, Inc., and its subsidiary Cobra Acquisitions, LLC, alleging RICO violations and business

 torts stemming from the reconstruction of Puerto Rico in the aftermath of Hurricane Maria.

           2.      After months of discovery, and with summary judgment pending and a trial date

 approaching, the parties reached a Settlement Agreement. That Agreement is attached as Exhibit A

 to this motion.

           3.      In ordering dismissal, and pursuant to the contingency provision included in the

 parties’ Joint Stipulation for Dismissal (D.E. 125), this Court specifically “reserve[d] jurisdiction to

 enforce the parties’ settlement agreement.” (D.E. 136).

           4.      In relevant part, the terms of that agreement dictated that Cobra would pay to MasTec

 the sum of $25,000,000 in three installments. See Composite Ex. A ¶¶ 1–3 (two copies of Settlement
Case 1:20-cv-20263-RNS Document 153 Entered on FLSD Docket 08/02/2022 Page 2 of 5



 Agreement with respective signatures). The first payment of $6,500,000, was due on August 2, 2021.

 Id. ¶¶ 1–2. This installment was timely paid.

           5.     The second payment of $9,250,000 plus interest at terms identified in paragraph 3 of

 the Agreement, for a total of $10,637,500, was due on August 1, 2022. Id. Cobra failed to pay any

 sums to MasTec in satisfaction of the second payment term.

           6.     In fact, despite the clear language of the Settlement Agreement, in its Second Quarter

 2022 financial results released on July 28, 2022, Mammoth publicly declared that “[n]either Cobra

 Acquisitions LLC nor Mammoth plan to make the scheduled settlement payment due on August 1,

 2022 to Mastec [sic] Renewables Puerto Rico, LLC, but expects to make the payment on or before

 December 1, 2022.”1

           7.     It is thus undisputed that Cobra is now in breach of the Settlement Agreement.

     II.        Argument

           “When a district court’s dismissal order either incorporates the terms of the settlement

 agreement or expressly retains jurisdiction to enforce the settlement, the agreement functions as a

 consent decree that the district court has jurisdiction to enforce.” Disability Advocates and Counseling

 Grp., Inc. v. E.M. Kendall Realty, Inc., 366 F. App’x 123, 125 (11th Cir. 2010). Because “[a]

 settlement agreement is a contract,” “its construction and enforcement are governed by principles of

 Florida’s general contract law.” Schwartz v. Fla. Bd. of Regents, 807 F.2d 901, 905 (11th Cir. 1987).

 Under Florida law, “settlements are highly favored and will be enforced whenever possible.” Coquina

 Invs. V. TD Bank, N.A., 760 F.3d 1300, 1318 (11th Cir. 2014) (quoting Robbie v. City of Miami, 469


 1
   Mammoth Energy Servs., Inc. Announces Strong Second Quarter 2022 Operational and Financial
 Results, PR NEWSWIRE, available at https://www.prnewswire.com/news-releases/mammoth-energy-
 services-inc-announces-strong-second-quarter-2022-operational-and-financial-results-
 301595697.html (July 28, 2022).

                                                    2
Case 1:20-cv-20263-RNS Document 153 Entered on FLSD Docket 08/02/2022 Page 3 of 5



 So. 2d 1384, 1385 (Fla. 1985)). And as with any contract, courts “must enforce the plain meaning of

 the settlement agreement’s unambiguous provisions.” Ocasio v. Foods of S. Fla., Inc., 15-21797-CV,

 2018 WL 1863640, at *4 (S.D. Fla. Jan. 31, 2018), report and recommendation adopted, 2018 WL

 1859331 (S.D. Fla. Mar. 15, 2018) (quoting F.W.F., Inc. v. Detroit Diesel Corp., 308 F. App’x 389,

 393 (11th Cir. 2009)).

        Indeed, pursuant to Supreme Court and Eleventh Circuit authority, where, as here, the Court

 properly retains jurisdiction over the enforcement of a settlement agreement in an order of dismissal,

 “a breach of the agreement would be a violation of the order” subject to a finding of contempt.

 Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994) (noting under Federal Rule of

 Civil Procedure 41(a)(1)(ii), “the court is authorized to embody the settlement contract in its dismissal

 order or, what has the same effect, retain jurisdiction over the settlement of the contract”) (emphasis

 added); see Anago Franch. Inc. v. Shaz LLC, 677 F.3d 1272, 1280–81 (11th Cir. 2012) (holding one

 of the two ways in which parties can bring the enforcement of a settlement agreement within

 Kokkonen’s purview is by “condition[ing] the effectiveness of the stipulation on the district court’s

 entry of an order retaining jurisdiction”).

        Defendant Cobra has unequivocally and publicly acknowledged that it has breached the

 parties’ Settlement Agreement. That Agreement’s terms regarding the payment installments due to

 Plaintiff are clear and unambiguous. See Ex. A ¶¶ 1–3. Accordingly, this Court can and should enter

 an Order enforcing those terms and requiring Cobra to satisfy the second payment installment of

 $10,637,500 ($9.25 million initial payment plus contractual interest per paragraph 3 of the Settlement

 Agreement), together with statutory interest, within five (5) business days of the entry of that Order.

        WHEREFORE, MasTec Renewables Puerto Rico, LLC, requests that the Court enter an

 Order enforcing the Settlement Agreement, requiring Cobra to remit payment of $10,637,500, ($9.25

                                                    3
Case 1:20-cv-20263-RNS Document 153 Entered on FLSD Docket 08/02/2022 Page 4 of 5



 million initial payment plus contractual interest per paragraph 3 of the Settlement Agreement),

 together with any accrued statutory interest, within five (5) business days of the entry of the Order,

 and all other relief this Court deems appropriate.

        DATED:          August 2, 2022.

                                                           Respectfully submitted,

                                                           /s/ Benjamin Widlanski
                                                           Benjamin Widlanski, Esq.
                                                           Florida Bar No. 1010644
                                                           bwidlanski@kttlaw.com
                                                           Jorge Piedra, Esq.
                                                           Florida Bar No. 88315
                                                           jpiedra@kttlaw.com
                                                           Tal J. Lifshitz, Esq.
                                                           Florida Bar No. 99519
                                                           tjl@kttlaw.com
                                                           Rachel Sullivan, Esq.
                                                           Florida Bar No. 815640
                                                           rs@kttlaw.com
                                                           KOZYAK TROPIN &
                                                           THROCKMORTON LLP
                                                           2525 Ponce de Leon Boulevard, 9th Floor
                                                           Coral Gables, Florida 33134
                                                           Telephone: (305) 372-1800
                                                           Facsimile: (305) 372-3508

                                                          Counsel for Plaintiff MasTec Renewables
                                                          Puerto Rico, LLC



                    LOCAL RULE 7.1 CERTIFICATE OF GOOD FAITH CONFERRAL

        Pursuant to Local Rule 7.1(a)(3), the undersigned made a good faith effort to confer with

 counsel for Defendants regarding the relief requested herein. Defendants object to the Motion.




                                                      4
Case 1:20-cv-20263-RNS Document 153 Entered on FLSD Docket 08/02/2022 Page 5 of 5




                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 2, 2022, a true and correct copy of the foregoing was

 served via the Court’s CM/ECF notification to all counsel of record.


                                             /s/ Benjamin J. Widlanski
                                             Benjamin J. Widlanski




                                                  5
